
Affirmed by unpublished PER CURIAM opinion.
PER CURIAM.
Jerry A. Berardi and Betty J. Berardi appeal from the district court’s order affirming the bankruptcy court’s orders denying their motion to remand their case *594back to the state court and denying their motion for leave to amend their complaint. We have reviewed the parties’ briefs, the joint appendix and supplement to the joint appendix, and the lower courts’ opinions and find no abuse of discretion and no reversible error. Accordingly, we affirm for the reasons stated by the district court. Berardi v. Norwest Bank Minn., NA, Nos. CA-2-50-1; BK-99-12207; AP-00-1195 (N.D.W Va. Jan. 23, 2003). We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.

AFFIRMED.

